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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

    Allianz Global Investors GmbH et al.,                                         10/20/2020
                                                                 1:18-cv-10364 (LGS) (SDA)
                                  Plaintiffs,
                                                                 AMENDED ORDER 1
                      -against-

    Bank of America Corporation et al.,

                                  Defendants.


STEWART D. AARON, UNITED STATES MAGISTRATE JUDGE:

          The Court has reviewed the parties’ submissions and, applying proportionality principles,

in its discretion, ORDERS as follows:

          1. Plaintiffs’ Letter Motion (ECF Nos. 565 & 567) to compel with respect to HSBC is

             GRANTED IN PART and DENIED IN PART. HSBC shall collect materials from a total of

             40 custodians. Plaintiffs shall select these custodians from among the 24 that HSBC

             itself offered and the individuals identified by Plaintiffs in ECF No. 620.

          2. Plaintiffs’ Letter Motion (ECF Nos. 568 & 570) to compel with respect to Morgan

             Stanley is GRANTED IN PART and DENIED IN PART. Morgan Stanley shall collect

             materials from a total of 30 custodians. Plaintiffs shall select these custodians from

             among the 23 that Morgan Stanley itself offered and the individuals identified by

             Plaintiffs in ECF No. 570.




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  The Order entered earlier this morning (ECF No. 621) contained a typographical error in paragraph 1
(referring in one place to UBS, instead of HSBC). This Amended Order corrects that error.
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         The Court finds that a proper showing has been made for the motions to seal relating to

each of the foregoing Letter Motions (ECF Nos. 566, 569, 598, 601, 616, 619) and those motions

are hereby GRANTED.

SO ORDERED.

Dated:          New York, New York
                October 20, 2020

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                                                    STEWART D. AARON
                                                    United States Magistrate Judge




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